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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )               CASE NO. 8:06CR153
                                            )
              Plaintiff,                    )
                                            )                     ORDER
              vs.                           )
                                            )
DILLARD HILL,                               )
                                            )
              Defendant.                    )

       This matter is before the Court on the Defendant’s motion to modify the conditions

of his release (Filing No. 131).

       IT IS ORDERED that the Defendant’s motion to modify the conditions of his release

(Filing No. 131) is denied.

       DATED this 15th day of November, 2006.

                                                BY THE COURT:

                                                s/Laurie Smith Camp
                                                United States District Judge
